AO 245B (Rev, 09/12)

Sheet |- Judgment in a Criminal Case

United States District Court

Eastern District of Missouri
UNITED STATES OF AMERICA

Vv.

JUDGMENT IN A CRIMINAL CASE

 

 

JOSEPH A. WEAVER CASE NUMBER: 4:13CR00318-1 JAR
USM Number: 40817-044
THE DEFENDANT: Lucille Liggett

 

Defendant's Attorney
xX pleaded guilty to count(s) one of a one-count Indictment on October 22, 2013.

[| pleaded nolo contendere to count(s)

 

which was accepted by the court.
[| was found guilty on count(s)

 

after a plea of not guilty

The defendant is adjudicated guilty of these offenses:
Date Offense Count

 

Title & Section Nature of Offense Concluded Number(s)
18 U.S.C. § 922(g)(1) and Felon in Possession of a Firearm December 14, 2012 one

18 U.S.C. § 924(a)(2)

The defendant is sentenced as provided in pages 2 through 6 _ of this judgment. The sentence is imposed pursuant
to the Sentencing Reform Act of 1984.

[| The defendant has been found not guilty on count(s)

 

[| Count(s) dismissed on the motion of the United States.

 

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence, or
mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

January 28, 2014
Date of Imposition of Judgment

SA be

raid e gnajdre of Judge

JOHN A. ROSS
UNITED STATES DISTRICT JUDGE
Name & Title of Judge

January 28, 2014
Date signed

Record No.: 53
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DEFENDANT: JOSEPH A. WEAVER
CASE NUMBER: 4:13CR00318-1 JAR
District: Eastern District of Missouri

 

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for
a total term of 110 MONTHS

This sentence shall run concurrently to the term of imprisonment imposed in Docket No. 1022-CR03084-01, Circuit Court, St. Louis.
This sentence shall run consecutively to any term of imprisonment imposed in Docket No. 13SL-CR04064, Circuit Court, St. Louis

County, Missouri, and concurrently with any sentence imposed in Docket No. 1322-CR00062, Circuit Court, St. Louis. This sentence is to
commence today.

x] The court makes the following recommendations to the Bureau of Prisons:

While in the custody of the Bureau of Prisons, it is recommended that the defendant be evaluated for participation in Residential Drug
Abuse Program, if this is consistent with the Bureau of Prisons policies.

It is further recommended that the defendant be designated to FCI Oxford, WI or if not available, as close to St. Louis, Missouri, as
possible, if this is consistent with Bureau of Prisons policies.

x The defendant is remanded to the custody of the United States Marshal.

[] The defendant shall surrender to the United States Marshal for this district:

[_] at a.m./pm on
[] as notified by the United States Marshal.

[| The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
[_] before 2 p.m. on

[_] as notified by the United States Marshal
[_] as notified by the Probation or Pretrial Services Office

MARSHALS RETURN MADE ON SEPARATE PAGE
AO 245B (Rev. 09/12) | Judgment in Criminal Case Sheet 3 - Supervised Release

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DEFENDANT: JOSEPH A. WEAVER
CASE NUMBER: 4:13CR00318-1 JAR

District: Eastern District of Missouri

 

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of THREE YEARS

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two
periodic drug tests thereafter, as determined by the court.

[ | The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk
of future substance abuse. (Check, if applicable.)

xX The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
[| The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

[| The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
resides, works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

[ | The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay in
accordance with the Schedule of Payments sheet of this judgment

The defendant shall comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4) the defendant shal! support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9) the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted

of a felony unless granted permission to do so by the probation officer;
10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit

confiscation of any contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
without the permission of the court;

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
defendant's criminal record or personal history or characteristics, and shall permit the probation officer to make such
notifications and to confirm the defendant's compliance with such notification requirement.
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DEFENDANT: _JOSEPH A. WEAVER
CASE NUMBER: 4:13CR00318-1 JAR

District: | Eastern District of Missouri

ADDITIONAL SUPERVISED RELEASE TERMS

While on supervision, the defendant shall comply with the standard conditions that have been adopted by this Court and shall comply with
the following additional conditions. If it is determined there are costs associated with any services provided, the defendant shall pay those

costs based on a co-payment fee established by the probation office.

The defendant shall refrain from any unlawful use of a controlled substance and submit to a drug test within 15 days of commencement of
supervision and at least two periodic drug tests thereafter for use of a controlled substance.

The defendant shall participate in a substance abuse treatment program approved by the probation office, which may include substance
abuse testing, counseling, Residential Re-entry Center placement, residential or inpatient treatment.

The defendant shall participate in a cognitive behavioral treatment program as directed by the probation office.

The defendant shall participate in a vocational services program, which may include job readiness training and skills development training,
as directed by the probation office.

The defendant shall submit his person, residence, office, or vehicle to a search conducted by the probation office based upon reasonable
suspicion of contraband or evidence of a violation of a condition of release. The defendant shall warn any other residents that the premises

may be subject to searches pursuant to this condition.
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DEFENDANT: JOSEPH A. WEAVER
CASE NUMBER: 4:13CR00318-1 JAR
District: Eastern District of Missouri

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on sheet 6

Assessment Fine Restitution
$100.00

Totals:

[ The determination of restitution is deferred until An Amended Judgment in a Criminal Case (AO 245C)
will be entered after such a determination. TT

[J The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportional payment unless specified
otherwise in the priority order or percentage payment column below. However, pursuant ot 18 U.S.C. 3664(j), all nonfederal

victims must be paid before the United States is paid.

Name of Payee Total Loss* Restitution Ordered Priority or Percentage

Totals:

 

[ Restitution amount ordered pursuant to plea agreement

[ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § Biot). All of the payment options on
Sheet 6 may be subject to penalties for delinquency an . § 3612(g).

[] The court determined that the defendant does not have the ability to pay interest and it is ordered that:

L] restitution.

default, pursuant to 18 U.S.

[] The interest requirement is waived for the. CI] fine
[| The interest requirement forthe [[] fine (] restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses
committed on or after September 13, 1994 but before April 23, 1996.
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DEFENDANT: JOSEPH A. WEAVER
CASE NUMBER: 4:13CR00318-1 JAR
District: Eastern District of Missouri
SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A Bd Lump sum payment of $100.00 due immediately, balance due

[] not later than , or

C1 inaccordance with [] C, [1 D,or C7 Ebelow;or C F below; or

B () Payment to begin immediately (may be combined with Oc OF dor OF Ebelow;or OI F below; or

C [] Payment in equal (e.g., equal, weekly, monthly, quarterly) installments of over a period of

e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or

DO Payment in equal (e.g., equal, weekly, monthly, quarterly) installments of over a period of
e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

E (1) Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after Release from
imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time: or

F (1 Special instructions regarding the payment of criminal monetary penalties:

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalty payments, except those payments made through the Bureau of Prisons’
Inmate Financial Responsibility Program are made to the clerk of the court.

The defendant will receive credit for all payments previously made toward any criminal monetary penalties imposed.

[| Joint and Several
Defendant and Co-defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,

and corresponding payee, if appropriate.

[ | The defendant shall pay the cost of prosecution.
[| The defendant shall pay the following court cost(s):

[] The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall be applied in the following order: (1 ) assessment; (2) restitution principal, (3) restitution interest, (4) fine principal,
(5)fine interest (6) community restitution.(7) penalties, and (8) costs, including cost of prosecution and court costs.
DEFENDANT: JOSEPH A. WEAVER

 

 

CASE NUMBER: 4:13CR00318-1 JAR

 

USM Number: 40817-044

 

UNITED STATES MARSHAL
RETURN OF JUDGMENT IN A CRIMINAL CASE

 

I have executed this judgment as follows:

 

 

 

 

 

 

 

 

The Defendant was delivered on to
at with a certified copy of this judgment.
UNITED STATES MARSHAL
By
Deputy U.S. Marshal

O The Defendant was released on to Probation
CO The Defendant was released on to Supervised Release
O and a Fine of C) and Restitution in the amount of

 

UNITED STATES MARSHAL

 

 

By
Deputy U.S. Marshal
I certify and Return that on , | took custody of
at and delivered same to

 

 

on FELT,

 

 

U.S. MARSHAL E/MO

By DUSM
